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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

HEATH WHITT, #222052,                     )
                                          )
                  Plaintiff,
vs.                                       )
                                          ) CIVIL ACTION NO.
WARDEN MILLS, et al.,                     ) 2:18-CV-851-MHT
                                          )
                  Defendants.
                                          )


                         NOTICE OF APPEARANCE
      Robert V. Baxley of Balch and Bingham, LLP, hereby gives notice of his

appearance as additional counsel of record on behalf of the Defendants, Warden

Walter Myers and Captain Joseph Danzey.

      Respectfully submitted this the 4th day of January, 2019.




                                      /s/Robert V. Baxley
                                      Attorney for the Defendants

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                        CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon the below
individuals by United States Mail, postage prepaid, on this the 4th day of January,
2019:

      HeathWhitt, #222052

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                                            /s/ Robert V. Baxley
                                            Of Counsel




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